                       Case 1:21-cr-00158-RC Document 1 Filed 02/01/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                  KYLE FITZSIMONS                                   )      Case No.
                                                                    )
                        AKA: N/A                                    )
                                                                    )
         'DWHRI%LUWK XX/XX/XXXX                                  )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                              in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                     Offense Description

             18 U.S.C. § 1752(a)(4) - Knowingly Entering or Remaining in Any Restricted Building or
             Grounds without Lawful Authority
             40 U.S.C. § 5104(e)(2)(F) - Violent Entry and Disorderly Conduct on Capitol Grounds
             18 U.S.C. § 111(a)(1) - Assault on a Federal Officer
             18 U.S.C. § 231(a)(3)- Certain Acts During a Civil Disorder

         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                      Benjamin Spinale, Special Agent
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                             2021.02.01
Date:
           2/1/2021                                                                                       22:18:47 -05'00'
                                                                                                 Judge’s signature

                                        :DVKLQJWRQ'&                    Zia M. Faruqui, U.S. Magistrate Judge
City and state:                                                                   _                                      _
                                                                                              Printed name and title
